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           UNITED STATES DISTRICT COURT
       --------------- DISTRICT OF MARYLAND ---------------
                                           APPEARANCE



UNITED STATES OF AMERICA

v.                                                          CASE NUMBER: GJH-22-0291

MATTHEW C. BROWNDORF


To the Clerk of this Court and all parties of record:

        Please enter my appearance as counsel in this case for Matthew Browndorf. I certify that

I am eligible to practice in this court.



Date: September 21, 2022                                              /s/
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